Case 20-32652 Document 49 Filed in TXSB on 10/15/20 Page 1 of 2

IN THE UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

IN RE: FREDERICK TEZANO ) CHAPTER 13

DEBTOR ) CAUSE NO.: 20-32652

DEBTOR’S MOTION OBJECTING BOTH EBNER INDUSTRIAL, AND TRANSPORT FUNDING
TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW FREDERICK TEZANO (hereinafter Debtor), files this objection against Ebner
Industrial , LLC and Transport Funding, first:

EBNER INDUSTRIAL

Debtor, states unequivocally that he neither store nor authorize any repair of the said
freightliner that Claimant claimed to have stored and repaired. As a matter of fact, debtor dealt with
Lessee named: Karr & Lexx LLC, 6811 Renata Cir., Houston, TX 77084.

Therefore, if any money is owed to Claimant, he should seek payment from the lessee. Debtor,
therefore, move this court to deny Ebner Industrial claim because he owed claimant nothing.

TRANSPORT FUNDING
It should be noted that Transport Funding, sought and obtain relief from automatic stay.

Further, on or around May 11, 2020, the said freightliner, was involved in a serious accident and
insurance company deemed the vehicle a total loss and claimant was paid for the loss.

Debtor, therefore, move this court to TRANSPORT FUNDING, because he has been made whole.
Wherefore, premise considered, prays the court to deny both claims.

Respectfully submitted,
/s/ Samuel Aguocha,
Samuel O. Aguocha, Esq.
15518 Stable Oak Drive,

Cypress TX 77429
Ph: 832-427-6224, fax 832-6744113
info@endeavor-law.com
Case 20-32652 Document 49. Filed in TXSB on 10/15/20 Page 2 of 2

CERTIFICATION OF SERVICE
| hereby certify that a copy of this objection was forwarded to all the necessary parties, via
electronic and first class USPS. i

  
 

Samuel
